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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             WEST PALM BEACH DIVISION

                           CASE NO. 23-80-1010-CR-CANNON


    UNITED STATES OF AMERICA,

                      v.

    DONALD J. TRUMP,

    WALTINE NAUTA, and

    CARLOS DE OLIVIERA,

                      Defendants.
                                            /




            DEFENDANT WALTINE NAUTA’S REPLY IN SUPPORT OF HIS
               MOTION TO DISMISS COUNTS 33, 34, 35, 40, AND 41
                OF THE INDICTMENT AS VOID FOR VAGUENESS
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         The Special Counsel’s Office (“SCO”) patronizingly criticizes Defendant Waltine Nauta’s

  Motion to Dismiss Counts 33, 34, 35, 40, and 41 of the Superseding Indictment (July 27, 2023)

  (ECF No. 85). In so doing, the SCO obfuscates a glaring reality: the meaning “corruptly” under

  § 1512 (and its sister statutes) is wholly uncertain and where, as here, an indictment fails to plead

  how a defendant acted “corruptly,” and use of the phrase, “fails to give ordinary people fair notice

  of the conduct it punishes” or is “so standardless that it invites arbitrary enforcement.” Johnson v.

  United States, 576 U.S. 591, 595 (2015).

         In the SCO’s own words, Mr. Nauta alleged to have:

                 [U]nbeknownst to Trump Attorney 1, . . . removed a total of approximately
                 64 boxes from the storage room: three boxes on May 24, 2022; 50 boxes
                 on May 30, 2022; and 11 boxes on June 1, 2022. [Superseding Indictment]
                 ¶ 59 [(July 27, 2023) (ECF No. 85)]. And hours before Trump Attorney 1
                 returned to Mar-a-Lago on June 2 to search for documents responsive to the
                 [grand jury] subpoena, Nauta and De Oliveira moved approximately 30
                 boxes into the storage room. Id. ¶ 62. When Nauta escorted Trump
                 Attorney 1 to and from the storage room for the attorney’s search on June
                 2, Nauta did not inform him that boxes had been taken out of the storage
                 room before he searched there. Id. ¶¶ 63-64, 66.

  Opp’n at 3 (Mar. 7, 2024) (ECF No. 379). While sensational, nowhere does the SCO allege that

  Mr. Nauta was aware of any benefit from his alleged movement of boxes, let alone any proceeding

  to be obstructed by the movement of boxes. Equally as salacious is the SCO’s description of what

  happened next – his purportedly nefarious trip to Mar-a-Lago after the movement of boxes has

  literally nothing to do with why the boxes were moved. In this way, the SCO’s citation to United

  States v. Friske, 640 F.3d 1288 (11th Cir. 2011), is telling insofar as the Eleventh Circuit recognized

  the government had failed to prove (and thus the defendant was entitled to a judgment of acquittal)

  that the defendant had any knowledge of the official proceeding he was allegedly obstructing. Id.

  at 1289. The SCO contends – obfuscating the issues – that the Eleventh Circuit, “construed

  ‘corruptly’ . . . without finding the term vague.” Opp’n at 14 (Mar. 17, 2024) (ECF No. 379). Yet,
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  whether § 1512(c)(2) was void for vagueness was not the issue before the Court and therefore

  obviously was not addressed by the Eleventh Circuit in its Opinion.

          Contrary to the SCO’s position, the extensive litigation emanating from the D.C. Circuit

  without any clear legal definition of the term “corruptly” reaffirms Mr. Nauta’s assertion that, as

  applied to him, the statutes with which he has been charged are void for vagueness. First, the SCO

  misreads the holding in Fischer. As Judge Walker made clear: “I believe that we must define that

  mental state to make sense of (c)(2)’s act element.” United States v. Fischer, 64 F. 4th 329, 352

  (D.C. Cir. 2023) (Walker, J., concurring). Without that definition, Judge Walker concluded,

  § 1512(c)(2) would be void for vagueness. Id. (citing Van Buren v. United States, 141 S. Ct. 1648,

  1661 (2021)). See also Fischer, 64 F.4th 329, at 362 (“Reading [the definition of ‘corruptly’] that

  way reconciles (c)(2) with the statutory scheme, avoids vagueness, and heeds the Supreme Court’s

  warning to beware of interpretations that impose onto criminal statutes a ‘breathtaking’ scope.”

  (quoting Van Buren, 141 S. Ct. at 1661). Second, while a three-judge panel of the D.C. Circuit did

  portend to hold that Judge Walker’s definition of “corruptly” was not binding on it, see United

  States v. Robertson, 86 F. 4th 355, 374 (D.C. Cir. 2023), the SCO ignores the dissent in that opinion

  from Judge Henderson, who concluded that, “our court already decided the issue sub judice” in

  referring to Judge Walker’s concurrence. Id. at 381 (Henderson, J., dissenting). Third and finally,

  this debate is largely semantic insofar as the D.C. Circuit’s debate over the meaning of “corruptly”

  are, at best, merely persuasive authority (and not precedential). Clearly, the Eleventh Circuit

  acknowledges a defendant must have knowledge of the proceeding they are obstructing, see Friske,

  640 F.3d at 1289, and it stands to reason that Congress intended a defendant to know why the

  proceeding was being obstructed. In the alternative, the statute is void in that it, “fails to give

  ordinary people fair notice of the conduct it punishes” or is “so standardless that it invites arbitrary
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  enforcement.” Johnson, 576 U.S. at 595. Put differently, Mr. Nauta could not have known that

  his mere movement of boxes, without more, implicated potentially the most significant prosecution

  of our lifetime.

         Returning then to the question presented, does the term “corruptly” “fail[] to give ordinary

  people fair notice of the conduct it punishes” or is it “so standardless that it invites arbitrary

  enforcement.”      Johnson, 576 U.S. 595.    Even the Circuit Judge writing for the majority

  acknowledged there were at least three definitions of “corruptly.” Fischer, 64 F. 4th at 340. And

  given the SCO’s failure, despite every opportunity to the contrary, to explain why Mr. Nauta acted

  “corruptly” when he “surreptitiously” moved boxes prior to Trump Attorney 1’s inspection of the

  same, Opp’n at 3 (Mar. 7, 2024) (ECF No. 379), vitiates his constitutional protection from “lack

  of fair notice or . . . arbitrary enforcement” afforded by the Due Process Clause. See Opp’n at 6

  (Mar. 7, 2024) (ECF No. 379).

                                          CONCLUSION

         WHEREFORE, for the foregoing reasons, Defendants respectfully request that the Court

  dismiss Counts 33, 34, 35, 40, and 41 of the Superseding Indictment.

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   Dated: March 24, 2024               Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on March 24, 2024, I electronically submitted the foregoing, via

  CM/ECF, to counsel of record.

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